Case: 1:21-cv-06627 Document #: 2-2 Filed: 12/10/21 Page 1 of 5 PageID #:8




                 Exhibit B
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      Case: 1:21-cv-06627 Document #: 2-2 Filed: 12/10/21 Page 2 of 5 PageID #:9
                                                                                                                VJ7M
                     U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                     Chicago District Office
                                                                                                               cy \Y~ I
                                                                                              JCK Federal Building
                                                                                                   230 S. Dearbol1l
                                                              Suite 1866 (Enforcement, Slate and Local & Hearings)
                                                                                         Suite 2920 (Legal & ADR)
                                                                                                 Chicago, IL 60604
                                                                         Intake Infonnafion Group: (800) 669~4000
                                                                   Intake Infonnatioll Group TTY: (800) 669-6820
                                                                             Chicago Direct Dial: (312) 872-9777
                                                                              Administration Fax: (312) 588-1255
                                                                  Enforcement/File Disclosure Fa"\':: (312) 588-1260
                                                                                Federal Sector Fax: (312) 588-1265
                                                                                       Intake   FIL~:   (312) 588-1286
                                                                                        Legal Fa" (312) 588-1494
                                                                                    Mediation Fax: (312) 588-1498
                                                                                          Website: \v'....w.eeoc.gov



DISMISSAL AND NOTICE OF RIGHTS ENCLOSED


RE:    EEOC Charge No.:       440-2019-07444
       Charging Party:        Teepu Siddique
       Respondent:            NORTHWESTERN UNIVERSITY

Dear Mr. Siddique:

The United States Equal Employment Opportunity Commission (EEOC) issued the enclosed
Dismissal and Notice of Rights (Notice) in the above-referenced charge on the date reflected
thereon. Specifically, on that date, EEOC sent you an email notification that EEOC had made a
decision regarding the above-referenced charge and advised you to download a copy of the
decision document from the Portal. Our records indicate you have not downloaded the Notice from
the Portal. For your convenience, a copy of the Notice is enclosed with this letter.

Please note that if the Charging Party wants to pursue tius matter further in court, Charging Party
must file a lawsuit within 90 days of the date they receive the Notice. The 90-day period for filing
a private lawsuit cannot be waived, extended, or restored by tile EEOC.

 I hope this information is helpful. If you have questions, please contact Robert Shelton
 by telephone at (312) 872-9725 or email at robert.shelton@eeoc.gov.

Sincerely,


T~13ow~cW                                             9/812021
District Director                                    Date Mailed




Enclosure
                Case: 1:21-cv-06627 Document #: 2-2 Filed: 12/10/21 Page 3 of 5 PageID #:10

EEOC Form 161 {11f2020}                 U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION

                                                DISMISSAL AND NOTICE OF RIGHTS
To:   Teepu Siddique                                                                  From:    Ch icago District Office
      clo Sleven J. Rosenberg, Esq.                                                            230 S. Dearbom
      GOLAN CHRISTIE TAGLIA LLP                                                                Suite 1866
      70 West Madison St, Suite 1500                                                           Chicago, IL 60604
      Chicago,Il60G02



      D                    On behalf of person(s) aggrieved whose identity is
                           CONFIDENTIAL (29 CFR §1601. 7(a))
EEOC Charge No.                                EEOC Representative                                                    Telephone No.

                                               Robert Shelton,
440-2019-07444                                 Investigator                                                           (312) 872-9725
THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
      o         The facts alleged in the charge fail to state a claim under any of !he statutes enforced by the EEOC.


      o         Your allegations did not involve a disability as defined by the Americans With Disabilities Act.


      o         The Respondent employs less than the reqUired number of employees or is not otherwise covered by the statutes.


      D         Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of 1I1e alleged
                discrimination to file your charge
                The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                determination about whether further investigation would establish violations of the statute. This does not mean the claims
                have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.

      o         The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.


      o         Other (briefly state)

                                                        - NOTICE OF SUIT RIGHTS -
                                                  (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Infonnation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAYS of your receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act(EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 vears (3 years)
before you file suit may not be colleclible.     '

                                                                    On behalf of the Commission

                                          Julianne 13owman/msa                                                      8/25/2021
Enclosures(s)
                                                                 Julianne Bowman,                                           (Date Issued)
                                                                  District Director
cc:        NORTHWESTERN UNIVERSITY
           clo Scott Wamer, Esq.
           Husch Blackwell LLP
           120 South Riverside Plaza, Ste. 2200
           Chicago, IL 60606
      Case: 1:21-cv-06627 Document #: 2-2 Filed: 12/10/21 Page 4 of 5 PageID #:11

                     U.S. EQUAL EMPLOYMENT OPPORTUNITY COMMISSION
                                    Chicago District Office
                                                                                                JCK Federal Building
                                                                                                      230 S. Dearbom
                                                              Suite 1866 (Enforcement, Slate and Local & Hearings)
                                                                                           Suite 2920 (Legal & ADR)
                                                                                                   Chicago, IL 60604
                                                                         Intake Infomlation Group: (800) 669~4000
                                                                    Inlake I11fonnalio11 Group TIY: (800) 669-6820
                                                                                Chicago Direct Dial: (312) 872-9777
                                                                                Administration Fax; (312) 588-1255
                                                                  Enforcement/File Disclosure Fax: (312) 588-1260
                                                                                 Federal Sector Fax; (312) 588-1265
                                                                                         Intake F",\:: (312) 588-1286
                                                                                           Legal Fax: (312) 588-1494
                                                                                      Mediation Fax: (312) 588-1498
                                                                                             Website: ww'..... eeoc.go\'



DISMISSAL AND NOTICE OF RIGHTS ENCLOSED


RE:    EEOC Charge No.:       440-2019-07276
       Charging Party:        Teepu Siddique
       Respondent:            NORTHWESTERN MEDICAL GROUP
                              F/KIA NORTHWESTERN MEDICAL FACULTY
Dear Mr. Siddique:

The United States Equal Employment Opportunity Commission (EEOC) issued the enclosed
Dismissal and Notice of Rights (Notice) in the above-referenced charge on the date reflected
thereon. Specifically, on that date, EEOC sent you an email notification that EEOC had made a
decision regarding the above-referenced charge and advised you to download a copy of the
decision document from the POlial. Our records indicate you have not downloaded the Notice from
the Portal. For your convenience, a copy of the Notice is enclosed with this letter.

Please note that if the Charging Party wants to pursue tlus matter further in court, Charging Paliy
must file a lawsuit within 90 days of the date they receive the Notice. The 90-day period for filing
a private lawsuit cannot be waived, extended, or restored by the EEOC.

 I hope this information is helpful. If you have questions, please contact Robert Shelton
 by telephone at (312) 872-9725 or email at robert.shelton@eeoc.gov.

Sincerely,


T~13owl'!'UM'l/cW                                    9/8/2021
District Director                                    Date Mailed




Enclosure
                Case: 1:21-cv-06627 Document #: 2-2 Filed: 12/10/21 Page 5 of 5 PageID #:12

EEOC Form 161 (11/2020)                  U.S. EQUAL EMPLOYMENT OPPORTUNITY COM MISSION

                                                 DISMISSAL AND NOTICE OF RIGHTS
To:    Teepu Siddique                                                                  From:    Chicago District Office
      clo Steven J. Rosenberg, Esq.                                                             230 S. Dearbom
      GOLAN CHRISTIE TAGLIA LLP                                                                 Suite 1866
      70 West Madison St, Suite 1500                                                            Chicago,IL60604
      Ch icago, IL 60602



      D                     On behalf of person(s) aggrieved whose identity is
                            CONFIDENTIAL (29 CFR §1601.7(a))
 EEOC Charge No.                                EEOC Representative                                                   Telephone No.

                                                Robert Shelton,
 440-2019-07276                                 Investigator                                                          (312) 872-9725
 THE EEOC IS CLOSING ITS FILE ON THIS CHARGE FOR THE FOLLOWING REASON:
      D          The facts alleged in the charge fail to state a claim under any of the statutes enforced by the EEOC.

      D          Your allegations did not involve a disability as defined by the Americans With Disabilities Act.

      D          The Respondent employs less than the required number of employees or is not otherwise covered by the statutes.


      D          Your charge was not timely filed with EEOC; in other words, you waited too long after the date(s) of the alleged
                 discrimination to file your charge

                 The EEOC issues the following determination: The EEOC will not proceed further with its investigation, and makes no
                 determination about whether further investigation would establish violations of the statute. This does not mean the claims
                 have no merit. This determination does not certify that the respondent is in compliance with the statutes. The EEOC
                 makes no finding as to the merits of any other issues that might be construed as having been raised by this charge.

      D          The EEOC has adopted the findings of the state or local fair employment practices agency that investigated this charge.

      D          Other (briefly state)

                                                         - NOTICE OF SUIT RIGHTS -
                                                   (See the additional information attached to this form.)

Title VII, the Americans with Disabilities Act, the Genetic Infonmation Nondiscrimination Act, or the Age
Discrimination in Employment Act: This will be the only notice of dismissal and of your right to sue that we Will send you.
You may file a lawsuit against the respondent(s) under federal law based on this charge in federal or state court. Your
lawsuit must be filed WITHIN 90 DAVS of you r receipt of this notice; or your right to sue based on this charge will be
lost. (The time limit for filing suit based on a claim under state law may be different.)

Equal Pay Act (EPA): EPA suits must be filed in federal or state court within 2 years (3 years for willful violations) of the
alleged EPA underpayment. This means that backpay due for any violations that occurred more than 2 years (3 years)
before you file su it may not be collectible.

                                                                    On behalf of the Commission

                                          JuCianne 'Bowman/msa                                                      8/25/2021
Enclosures(s)                                                     Julianne Bowman,                                         (Date ISsued)
                                                                   District Director
cc:        NORTHWESTERN MEMORIAL HEALTHCARE
           clo William Miossi, Esq.
           Winston & Strawn, LLP
           1700 KSt. NW
           Washington, D.C. 20006
